    Case 1:17-bk-12075                     Doc 110
 Fill in this information to identify the case:
                                                       Filed 08/01/22 Entered 08/01/22 11:48:34                         Desc Main
                                                      Document      Page 1 of 4
 Debtor 1              Martino M. Wilson

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:
                                           Southern                       Ohio
                                           --------- District of (St ate)
 Case number
                        1:17-bk-12075




Form 4100R
Response to Notice of Final Cure Payment                                                                                           10/15

According to Bankruptcy Rule 3002.1 (g), the creditor responds to the trustee's notice of final cure payment.



                 Mortgage Information

                                U.S. Bank, N.A., not in its individual capacity but solely as                Court claim no. (if known):
 Name of creditor:
                                                                                                              1
                            trustee for RMTP Trust, Series 2021 BKM-TT
                                                                                   4     3     4      8
 Last 4 digits of any number you use to identify the debtor's account:

 Property address:              6517 Greentree Drive
                                Number      Street



                                Cincinnati                OH          45224
                                City                     State     ZIP Code




                 Prepetition Default Payments

  Check one:

  Iii   Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim.

  D     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date          $             _
        of this response is:


                 Postpetition Mortgage Payment

  Check one:

  D     Creditor states that the debtor(s) are current with all postpetition payments consistent with§ 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:
                                                                              ''
                                                                              MM/ DD    __
                                                                                       /YYYY

  Iii   Creditor states that the debtor(s) are not current on all postpetition payments consistent with§ 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                    (a)   $ 3,498.18

        b. Total fees, charges, expenses, escrow, and costs outstanding:                                               +rs000
        c.   Total. Add lines a and b.                                         *Credit $282.97 in suspense             (c)   $ 3215.21
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became           05,01_,2022
        due on:                                                               MM/ DD   /YYYY


Form 4100R                                            Response to Notice of Final Cure Payment                                    page 1
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                                                                 Document      Page 2 of 4

Debtor 1         Martino M. Wilson                                                            Case       number «n%1:17-bk-12075
                First Name      Middle Name               Last Name
                                                                                                                   -------------




               Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
  ■      all payments received;
  ■      all fees, costs, escrow, and expenses assessed to the mortgage; and
  ■      all amounts the creditor contends remain unpaid.




               Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor's
  proof of claim.

  Check the appropriate box::

   D     I am the creditor.
   Iii   I am the creditor's authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.

 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               $C /s/ Jon J. Lieberman                                                        0a          08,01 ,2022
                   Signature




 Print              Jon J. Lieberman                                                          Title      Attorney for Creditor
                   First Name                      Middle Name         Last Name




 Company
                    Sottile and Barile, Attorneys at Law


 If different from the notice address listed on the proof of claim to which this response applies:


                    394 Wards Corner Road, Suite 180
 Address
                   Number                 Street


                    Loveland                                           OH          45140
                   City                                                State       ZIP Code




 contact phone     (51@_        444      4100                                                 E fl4].1
                                                                                                         bankruptcy@sottileandbarile.com




Form 4100R                                                        Response to Notice of Final Cure Payment                                 page 2
                                                                   Case 1:17-bk-12075                                                   Doc 110                         Filed 08/01/22 Entered 08/01/22 11:48:34                                                                                                     Desc Main
                                                                                                                                                                       Document      Page 3 of 4
                                                                                                                                                  PAYMENT CHANGES
                                                                                                                   DATE             P&I                 Escrow                  TOTAL                  Reference
                                                                                                                  07/01/17         538.16               564.02                 1,102.18




                                         -
                                                                                                                  08/01/18         538.16               728.46                 1,266.62
                                                                                                                  07/01/19         538.16               671.90                 1,210.06
                                                                                                                  07/01/20         538.16               723.13                 1,261.29
                                                                                                                  07/01/21         538.16               629.16                 1,167.32         NOPC filed with the court
Loan#                                                                                                             11/01/21         538.16               627.90                 1,166.06         NOPC filed with the court
Borrower:                             Wilson                                                                                                             0.00
Date Filed:                          6/6/2017                                                                                                            0.00
BK Case #                            17-12075                                                                                                            0.00

First Post Petition Due Date:        7/1/2017                                                                                                            0.00
POC covers:                          6/1/2017
MOD EFFECTIVE DATE:
               Date                Amount Recvd   Payment Type   Post Petition Due Date   Contractual Due Date   Amount Due     Over/Shortage       Suspense Credit         Suspense Debit            Susp Balance               POC DATE PAID     POC Arrears Credit    POC Debit        POC Suspense Balance     POC Paid to Date   Fee/Escrow Deposit    Comment
Beginning Suspense Balance                                                                                                                $0.00                                                                          $0.00                                                                             $0.00                $0.00
                      8/17/2017      $1,102.18       Post               7/1/17                  6/1/17              $1,102.18             $0.00                                                                          $0.00                                                                             $0.00                $0.00
                      9/15/2017      $1,202.18       Post               8/1/17                  7/1/17              $1,102.18           $100.00                  $100.00                                              $100.00                                                                              $0.00                $0.00
                     10/12/2017      $1,202.18       Post               9/1/17                  8/1/17              $1,102.18           $100.00                  $100.00                                              $200.00                                                                              $0.00                $0.00
                      1/30/2018      $1,724.03       Post               10/1/17                 9/1/17              $1,102.18           $621.85                  $621.85                                              $821.85                                                                              $0.00                $0.00
                      2/28/2018       $372.37        Post               11/1/17                 10/1/17             $1,102.18          -$729.81                                      $729.81                            $92.04                                                                             $0.00                $0.00
                      3/28/2018       $492.08        Post                                                                               $492.08                  $492.08                                              $584.12                                                                              $0.00                $0.00
                      4/24/2018       $486.69        Post                                                                               $486.69                  $486.69                                             $1,070.81                                                                             $0.00                $0.00
                        6/1/2018     $1,102.18       Post               12/1/17                 11/1/17             $1,102.18             $0.00                                                                      $1,070.81                                                                             $0.00                $0.00
                        6/1/2018      $634.47        Post               1/1/18                  12/1/17             $1,102.18          -$467.71                                      $467.71                          $603.10                                                                              $0.00                $0.00
                      6/27/2018      $1,804.17       Post               2/1/18                  1/1/18              $1,102.18           $701.99                  $701.99                                             $1,305.09                                                                             $0.00                $0.00
                                                     Post               3/1/18                  2/1/18              $1,102.18        -$1,102.18                                     $1,102.18                         $202.91                                                                              $0.00                $0.00
                     7/24/2018        $798.75        Post                                                                               $798.75                  $798.75                                             $1,001.66                                                                             $0.00                $0.00
                                      $399.90        Post               4/1/18                  3/1/18              $1,102.18          -$702.28                                      $702.28                          $299.38                                                                              $0.00                $0.00
                     9/26/2018       $1,382.00       Post               5/1/18                  4/1/18              $1,102.18           $279.82                  $279.82                                              $579.20                                                                              $0.00                $0.00
                                      $304.83        Post                                                                               $304.83                  $304.83                                              $884.03                                                                              $0.00                $0.00
                                      $608.86        Post               6/1/18                  5/1/18              $1,102.18          -$493.32                                      $493.32                          $390.71                                                                              $0.00                $0.00
                    10/24/2018       $1,531.87       Post               7/1/18                  6/1/18              $1,102.18           $429.69                  $429.69                                              $820.40                                                                              $0.00                $0.00
                    11/26/2018       $1,266.62       Post               8/1/18                  7/1/18              $1,266.62             $0.00                                                                       $820.40                                                                              $0.00                $0.00
                                      $565.37        Post               9/1/18                  8/1/18              $1,266.62          -$701.25                                      $701.25                          $119.15                                                                              $0.00                $0.00
                                      $109.16        Post                                                                               $109.16                  $109.16                                              $228.31                                                                              $0.00                $0.00
                                      $54.66         Post                                                                                $54.66                   $54.66                                              $282.97                                                                              $0.00                $0.00
                    12/28/2018       $1,453.82       Post               10/1/18                 9/1/18              $1,266.62           $187.20                  $187.20                                              $470.17                                                                              $0.00                $0.00
                                      $16.73         Post                                                                                $16.73                   $16.73                                              $486.90                                                                              $0.00                $0.00
                      2/1/2019       $1,266.62       Post               11/1/18                 10/1/18             $1,266.62             $0.00                                                                       $486.90                                                                              $0.00                $0.00
                     2/27/2019       $1,266.62       Post               12/1/18                 11/1/18             $1,266.62             $0.00                                                                       $486.90                                                                              $0.00                $0.00
                     3/27/2019                        Pre                                                                                 $0.00                                                                       $486.90                                  $205.76                                   $205.76              $205.76
                     3/27/2019       $1,266.62       Post               1/1/19                  12/1/18             $1,266.62             $0.00                                                                       $486.90                                                                            $205.76              $205.76
                     4/25/2019                        Pre                                                                                 $0.00                                                                       $486.90                                $1,029.48                                 $1,235.24            $1,235.24
                     4/25/2019       $1,266.62       Post               2/1/19                  1/1/19              $1,266.62             $0.00                                                                       $486.90                                                                          $1,235.24            $1,235.24
                     5/30/2019                        Pre                                                                                 $0.00                                                                       $486.90                                   $54.37                                 $1,289.61            $1,289.61
                                                      Pre                 Pre                   2/1/19                                    $0.00                                                                       $486.90           6/1/2017                              $1,102.18                  $187.43            $1,289.61             $564.02
                     6/25/2019       $1,266.62       post               3/1/19                  3/1/19              $1,266.62             $0.00                                                                       $486.90                                                                            $187.43            $1,289.61
                     7/30/2019       $1,210.06       Post               4/1/19                  4/1/19              $1,266.62           -$56.56                                       $56.56                          $430.34                                                                            $187.43            $1,289.61
                     8/28/2019       $1,210.06       Post               5/1/19                  5/1/19              $1,266.62           -$56.56                                       $56.56                          $373.78                                                                            $187.43            $1,289.61
                     9/30/2019       $1,210.06       Post               6/1/19                  6/1/19              $1,266.62           -$56.56                                       $56.56                          $317.22                                                                            $187.43            $1,289.61
                    10/23/2019       $1,210.06       Post               7/1/19                  7/1/19              $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                    11/27/2019       $1,210.06       Post               8/1/19                  8/1/19              $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                    12/23/2019       $1,210.06       Post               9/1/19                  9/1/19              $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                     1/31/2020       $1,210.06       Post               10/1/19                 10/1/19             $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                     2/27/2020       $1,210.06       Post               11/1/19                 11/1/19             $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                     3/26/2020       $1,210.06       Post               12/1/19                 12/1/19             $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                     4/28/2020       $1,210.06       Post               1/1/20                  1/1/20              $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                     5/27/2020       $1,210.06       Post               2/1/20                  2/1/20              $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                      7/1/2020       $1,210.06       Post               3/1/20                  3/1/20              $1,210.06             $0.00                                                                       $317.22                                                                            $187.43            $1,289.61
                     7/29/2020       $1,261.29       Post               4/1/20                  4/1/20              $1,210.06            $51.23                   $51.23                                              $368.45                                                                            $187.43            $1,289.61
                     8/25/2020       $1,261.29       Post               5/1/20                  5/1/20              $1,210.06            $51.23                   $51.23                                              $419.68                                                                            $187.43            $1,289.61
                     9/30/2020       $1,261.29       Post               6/1/20                  6/1/20              $1,210.06            $51.23                   $51.23                                              $470.91                                                                            $187.43            $1,289.61
                    10/27/2020        $39.60         Post                                                                                $39.60                   $39.60                                              $510.51                                                                            $187.43            $1,289.61
                    11/25/2020         $5.00         Post                                                                                 $5.00                    $5.00                                              $515.51                                                                            $187.43            $1,289.61
                    12/28/2020       $2,193.75       Post               7/1/20                  7/1/20              $1,261.29           $932.46                  $932.46                                             $1,447.97                                                                           $187.43            $1,289.61
                                                     Post               8/1/20                  8/1/20              $1,261.29        -$1,261.29                                     $1,261.29                         $186.68                                                                            $187.43            $1,289.61
                     1/27/2021       $1,344.62       Post               9/1/20                  9/1/20              $1,261.29            $83.33                   $83.33                                              $270.01                                                                            $187.43            $1,289.61
                     2/24/2021       $1,813.52       Post               10/1/20                 10/1/20             $1,261.29           $552.23                  $552.23                                              $822.24                                                                            $187.43            $1,289.61
                     3/30/2021       $2,171.25       Post               11/1/20                 11/1/20             $1,261.29           $909.96                  $909.96                                             $1,732.20                                                                           $187.43            $1,289.61
                                                     Post               12/1/20                 12/1/20             $1,261.29                                                      $1,261.29                          $470.91                                                                            $187.43            $1,289.61
                     4/27/2021       $1,261.29       Post               1/1/21                  1/1/21              $1,261.29             $0.00                                                                       $470.91                                                                            $187.43            $1,289.61
                     5/26/2021       $1,261.29       Post               2/1/21                  2/1/21              $1,261.29             $0.00                                                                       $470.91                                                                            $187.43            $1,289.61
                     6/29/2021       $1,261.29       Post               3/1/21                  3/1/21              $1,261.29             $0.00                                                                       $470.91                                                                            $187.43            $1,289.61
                     7/28/2021       $1,167.32       Post               4/1/21                  4/1/21              $1,261.29           -$93.97                                       $93.97                          $376.94                                                                            $187.43            $1,289.61
                     8/25/2021       $1,167.32       Post               5/1/21                  5/1/21              $1,261.29           -$93.97                                       $93.97                          $282.97                                                                            $187.43            $1,289.61
                     8/26/2021                      Escrow                                                                                $0.00                                                                       $282.97                                                   $751.45                 -$564.02            $1,289.61             $751.45
                     9/29/2021       $1,167.32       Post               6/1/21                  6/1/21              $1,167.32             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                    10/26/2021       $1,167.32       Post               7/1/21                  7/1/21              $1,167.32             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                    11/23/2021       $1,166.06       Post               8/1/21                  8/1/21              $1,166.06             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                    12/29/2021       $1,166.06       Post               9/1/21                  9/1/21              $1,166.06             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                     1/31/2022       $1,166.06       Post               10/1/21                 10/1/21             $1,166.06             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                     2/25/2022       $1,166.06       Post               11/1/21                 11/1/21             $1,166.06             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                     3/29/2022       $1,166.06       Post               12/1/21                 12/1/21             $1,166.06             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                     4/27/2022       $1,166.06       Post               1/1/22                  1/1/22              $1,166.06             $0.00                                                                       $282.97                                                                           -$564.02            $1,289.61
                     5/23/2022       $2,289.97       Post               2/1/22                  2/1/22              $1,166.06         $1,123.91                 $1,123.91                                            $1,406.88                                                                          -$564.02            $1,289.61
                                                     Post               3/1/22                  3/1/22              $1,166.06        -$1,166.06                                     $1,166.06                         $240.82                                                                           -$564.02            $1,289.61
                     6/24/2022       $1,208.21       Post               4/1/22                  4/1/22              $1,166.06            $42.15                   $42.15                                              $282.97                                                                           -$564.02            $1,289.61
                       Pending                      Reversal                                                                              $0.00                                                                       $282.97                                                  -$564.02                    $0.00            $1,289.61
                     POST DUE                                           5/1/22                  5/1/22                                    $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
                                                                                                                                          $0.00                                                                       $282.97                                                                              $0.00            $1,289.61
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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 CINCINNATI DIVISION

  In Re:                                          Case No. 1:17-bk-12075

  Martino M. Wilson                               Chapter 13

  Debtor.                                         Judge Jeffery P. Hopkins

                                 CERTIFICATE OF SERVICE

 I certify that a copy of the foregoing Response to Notice of Final Cure Payment was served
 electronically on August 1, 2022 through the Court’s ECF System on all ECF participants
 registered in this case at the e-mail address registered with the Court

 And by first class mail on August 1, 2022 addressed to:

           Martino M. Wilson, Debtor
           6517 Greentree Drive
           Cincinnati, OH 45224

                                                  Respectfully Submitted,

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (0058394)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
